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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW HAMPSHIRE

In re:                                                               Bk. No. 23-10064-BAH
                                                                     Chapter 11
Beato Auto Sales, Inc.,
             Debtor

                                          ORDER OF THE COURT


Hearing Date: 02/17/2023 02:00 pm


Nature of Proceeding:       Doc# 9 Ex Parte Motion to Use Cash Collateral Interim Filed by Debtor Beato
                            Auto Sales, Inc.


Outcome of Hearing:         The Motion for Interim Use of Cash Collateral is denied for the reasons stated on the
                            record.


IT IS SO ORDERED:



/s/ Bruce A. Harwood        Date: 02/17/2023
Bruce A. Harwood
Chief Judge
